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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                    )
                                          )                      Chapter 11
RED REEF ALTERATIVE INVESTMENTS,          )
and EMERGENT CAPITAL, INC.,               )                      Case No. 20-12602 (BLS)
                                          )
                  Debtors.                )                      Jointly Administered
_________________________________________ )
                                          )
In re:                                    )
                                          )
IMPERIAL PREMIUM FINANCE, LLC,            )                      Chapter 11
                                          )
                  Debtor.                 )                      Case No. 20-12694 (BLS)
_________________________________________ )

                    POHL CREDITORS' SECOND AMENDED EXHIBIT LIST

          ALLAN J. POHL (“Allan”), individually, as Representative of Phyllis Pohl, and as Trustee

of the Phyllis Pohl Irrevocable Trust, and KIMBERLY SHERIS (“Kimberly”) (collectively, “the

Pohls”), creditors and parties in interest this action and by and through their undersigned counsel,

hereby give notice of the exhibits they may utilize, offer or introduce at the hearing on the Motion

to Estimate Pohl Litigation Claims by Debtors EMERGENT CAPITAL, INC. (“Emergent”) and

IMPERIAL PREMIUM FINANCE, LLC (“Imperial”) (collectively, “Debtors”):1

POHL
CX                                                 DESCRIPTION                               S    O A
 1 Emergent Organization Chart

    2    Declaration of Allan Pohl In Opposition to Motion to Estimate

    3    Declaration of Kimberly Sheris In Opposition to Motion to Estimate

    4    December 17, 2007 Letter to Allan Pohl from Wealth Modes

    5    Phyllis Pohl’s Notification Letters

    6    Broker’s Right of Agent


1
    S – Stipulated; O – Offered; A – Admitted
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7   Single Case Agreement

8   Lincoln Benefit Premium Funding Intent Form

9   Declaration of Salvatore Romano

10 Lincoln Benefit Invoice Premium Payment

11 Pohl Check No. 8458, dated 1/18/08

12 Amended and Restated Trust Agreement

13 Premium Finance Funding Form dated 03/12/08

14 Emergent Form 10K – December 31, 2011

15 Assignment of Policy as Collateral dated 03/12/08

16 Security Agreement

17 Limited Power of Attorney dated 12/24/08

18 Insurance Loan Sale and Assignment dated 01/19/09

19 Change of Ownership and Beneficiary Forms by Pohl Trust

20 Change of Ownership and Beneficiary Forms by Imperial PFC

21 Emergent SEC Forms 10-K, 10-Q and 8-K for the period 2011-2020

22 April 30, 2012 Imperial Holdings, Inc. Non-Prosecution Agreement

23 Verified Complaint in the action styled USA v $5,000,000 US Currency, Case
   No.1:15-cv-00526 in U.S. District Court of New Hampshire

24 Final Order of Forfeiture in the action styled USA v $5,000,000 US Currency, Case
   No. 1:15-cv-00526 in U.S. District Court of New Hampshire

25 Verified Complaint in the action styled USA v $750,000 US Currency, Case No.
   1:15-cv-00528, U.S. District Court of New Hampshire

26 Final Order of Forfeiture in the action styled USA v $750,000 US Currency, Case
   No. 1:15-cv-00528, U.S. District Court of New Hampshire
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27 Letter dated June 12, 2014 to Phyllis Pohl from LexServ

28 Pohl Complaint Letter dated 6/12/2016

29 Emergent SEC Form 10-Q dated 7/10/19

30 Trust Agreement

31 Phyllis Pohl handwritten notes dated 02/28/08

32 Lexington Insurance Cop. Checks to Emergent

33 Complaint in the action styled Lincoln Benefit Life Company v. Wilmington Trust
   National Association, Case No. N18C-02-168 in the Superior Court of the State of
   Delaware
34 Letter to Allan Pohl dated 3/5/08 with Hold Harmless Agreement

35 Pohl Lincoln Benefit Application dated 12-21-07

36 Imperial Premium Payment Summary

37 Designated Deposition Transcript of Miriam Martinez

38 Designated Deposition Transcript of Ernest Madera

39 Designated Deposition Transcript of Larry Bryan

40 Deposition Transcript of Allan Pohl

41 Deposition Transcript of Kimberly Sheris

42 Sciarretta v. Lincoln National Life Ins., 778 F.3d 1205 (11th Cir. 2015)

    All exhibits listed by Debtors

    All exhibits to any deposition taken in this proceeding

    All impeachment and rebuttal exhibits, as necessary




      The Pohls reserve the right to amend or supplement this Exhibit List as additional
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documents are discovery or as justice requires.

       December 16, 2020


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